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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
                                                )
11                                              )      Case No.: CV 21-02136-CJC(MRWx)
                                                )
12
     PAUL GIFFORD, et al., on behalf of         )
                                                )
13   himself and all others similarly situated, )
                                                )
14                                              )      ORDER GRANTING PLAINTIFFS’
                 Plaintiffs,                    )      UNOPPOSED RENEWED MOTION
15                                              )      FOR PRELIMINARY APPROVAL OF
          v.                                    )      CLASS ACTION SETTLEMENT
16                                              )      [Dkt. 51]
                                                )
17   PETS GLOBAL, INC.,                         )
                                                )
18                                              )
                 Defendant.                     )
19                                              )
                                                )
20                                              )
21

22
     I.    INTRODUCTION
23

24
           On March 9, 2021, Plaintiffs Paul Gifford, Mary Lou Molina, Randy Miland, and
25
     Karen Perri filed this putative consumer class action alleging that Defendant Pets Global,
26
     Inc. (“Pets Global”) misrepresented the kind of ingredients used in its Zignature Limited
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1    Ingredient pet food line.1 (Docket 1 [Class Action Complaint].) On June 2, 2021,
2    Plaintiffs filed their First Amended Class Action Complaint. (Dkt. 23 [hereinafter
3    “FAC”].) In their FAC, Plaintiffs allege claims for breach of express warranty under
4    California law, Minnesota law, and Illinois law, (Count I, II); breach of implied warranty
5    under California Law, Minnesota Law, and Illinois Law (III, IV, V); unjust enrichment
6    (Count VI); violations of California’s Consumer Legal Remedies Act (Count VII),
7    California’s False Advertising Law (Count VIII), and California’s Unfair Competition
8    Law (Count VIV); violations of Minnesota’s Uniform Deceptive Trade Practices Act
9    (Count X); and violations of Illinois’s Consumer Fraud Act (Count XI). (FAC ¶¶ 69–
10   184.) In January of 2022, this Court denied Plaintiffs’ first motion for preliminary
11   approval of the proposed class action settlement, finding that Plaintiff had failed to satisfy
12   Rule 23(a)’s numerosity requirement and the requirements of Rule 23(e). (Dkt. 50
13   [Court’s Order Denying Plaintiffs’ Unopposed Motion for Approval of the Class Action
14   Settlement].) The Court explained that though Plaintiffs had satisfied Rule 23(a)’s other
15   requirements and Rule 23(b)(3)’s requirements, the Court lacked sufficient information to
16   determine if the proposed settlement is fair, adequate, or reasonable or sufficiently
17   numerous such that a class action is warranted. (Id. at 15–17.) Now before the Court is
18   Plaintiffs’ renewed motion for preliminary approval of the proposed class action
19   settlement. (Dkt. 51 [hereinafter “Mot.”].) For the following reasons, Plaintiffs’ renewed
20   motion for preliminary approval of the proposed class action settlement is GRANTED. 2
21

22

23

24

25

26   1
       Plaintiff Karen Perri voluntarily dismissed her claims against Defendant on October 12, 2021 and is no
27   longer a named plaintiff in this action. (Dkt. 42 [Karen Perri’s Notice of Voluntary Dismissal].)
     2
       Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28   for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
     for June 27, 2022 at 1:30 p.m. is hereby vacated and off calendar.
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1    II.   BACKGROUND
2

3             A. Factual Allegations
4

5          Defendant designs, manufactures, markets, and sells pet food products online and
6    through third-party retailers throughout the United States. (FAC ¶ 8.) Plaintiffs are
7    individuals who have each purchased Pets Global’s Zignature Limited Ingredient pet
8    food line because of certain representations Pets Global made about the products in this
9    line. (Id. ¶¶ 13–28.)
10

11         Specifically, Plaintiffs allege that Pets Global represents to its consumers that its
12   Zignature Limited Ingredient pet food line is “grain free” and “chicken free.” (Id. ¶ 53.)
13   Although pet foods vary in the quality of ingredients, formula, manufacturing processes,
14   and inspection quality, dog owners often choose to purchase products that have “limited
15   ingredients”—such as grain-free or chicken-free—at a premium because certain dog
16   breeds have allergies associated with dog foods that contain these ingredients or because
17   the owners believe that certain ingredients help (or hamper) their pets’ health, weight,
18   and overall well-being. (Id. ¶¶ 40, 50.) Plaintiffs allege that they were harmed because
19   they paid a premium for these products, but the products did not conform to
20   representations on their packaging nor to warranties Defendant made regarding their
21   quality. (Id. ¶¶ 13–28.)
22

23            B. Proposed Settlement Terms
24

25         After Plaintiffs filed their FAC, the parties participated in an all-day mediation
26   session with the Honorable Wayne Anderson (Ret.) of JAMS Chicago. (Dkt. 47
27   [Declaration of J. Hunter Bryson in Support of Motion for Preliminary Approval,
28   hereinafter “Bryson Decl.”] ¶ 6.) The case did not settle. However, conversations

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1    between the parties continued, and Judge Anderson ultimately made a mediator’s
2    proposal that both parties accepted. (Id.) The parties did not discuss attorneys’ fees,
3    costs, or service awards until after they agreed on the material terms and structure of the
4    settlement. (Id.) Negotiations continued for an additional six weeks before the proposed
5    settlement was finalized on October 21, 2021. (Id. ¶¶ 7, 8.)
6

7          The proposed Settlement Agreement and Release (the “Settlement”), which is
8    made pursuant to California law, encompasses all “pet food products manufactured or
9    produced for Pets Global and marketed or labelled as ‘grain free’ or ‘chicken free’ or
10   with some similar designation claiming the absence of any grain or chicken, and
11   including without limitation all Zignature products manufactured by Pets Global and
12   those products listed in Plaintiffs’ Amended Complaint” (the “Products”). (Dkt. 47-1
13   [Settlement Agreement and Release, hereinafter “Settlement Agreement”] § I(T).)
14   Plaintiffs define the nationwide Class as:
15

16
                  All persons residing in the United States who purchased the Products
                  primarily for personal, family or household purposes, and not for resale,
17                during the Class Period. Excluded from the Settlement Class shall be jurists,
18
                  mediators, plaintiffs’ or defense counsel and their employees, legal
                  representatives, heirs, successors, assigns, or any members of their
19                immediate family; any government entity; Pets Global, any entity in which
20
                  Pets Global has a controlling interest, any of Pets Global’s subsidiaries,
                  parents, affiliates, and officers, directors, employees, legal representatives,
21                heirs, successors, or assigns or any members of their immediate family.
22
     (Settlement Agreement § I(Y).) The Class Period is defined as June 2, 2017 (four years
23
     prior to the filing of the FAC) through the Preliminary Approval of the Settlement. (Id.
24
     §I(L).)
25

26
           The Settlement has two primary benefits for Class Members. Under the first, Class
27
     Members may submit a claim for monetary relief. (Settlement Agreement § IV(B).)
28


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1    There is no cap on the amount dedicated to this benefit. Those with valid claims are
2    eligible to recover up to $10 for each purchase of a Product with proof of purchase, with
3    a $100 cap per household. (Id. § IV(B)(2)(a).) Those without proof of purchase may be
4    entitled to recover a maximum of $5 total. (Id. § IV(B)(2)(b).) The second benefit
5    provides injunctive relief to the Class. Defendant agrees to revise its product labels and
6    marketing references so that Product labels that make a “chicken free” and “grain free”
7    claim no longer contain those representations. (Id. § IV(A)(1).) Plaintiffs’ expert
8    estimates that the total value of the injunctive relief secured is $273,789,121. (Dkt 55
9    [Declaration of Frank Bernatowicz, hereinafter “Bernatowicz Decl.”] ¶ 21.)
10

11         Under the Settlement Agreement, Pets Global also agrees to audit all of the
12   manufacturing plants of suppliers for a period of 5 years following the Court’s Final
13   Approval Order. The audits will be at least once a year, and will include (1) a visual
14   inspection of all manufacturing machines that process, store, or otherwise come into
15   contact with the petfood manufactured within said facility and purchased by Defendant;
16   (2) an audit of the manufacturer’s manufacturing process and sourcing records, to
17   confirm the accuracy of the ingredients being used in Defendant’s products; and (3)
18   ensure that all the manufacturing processes used by the manufacturing plant adhere to
19   quality control standards. (Id. § IV(D).)
20

21         Defendant also agrees that it will not oppose Class Counsel’s application to the
22   Court for attorneys’ fees, costs, and expenses in an amount not to exceed $875,000. (Id.
23   §§ V(A), V(E).) This amount specifically includes all costs and fees incurred by Class
24   Counsel and Plaintiffs’ Counsel in connection with the action thus far, as well as ongoing
25   and future costs and fees through finalization of Settlement of this action. (Id.)
26   However, the exact amount of fees awarded shall be determined by the Court in its
27   discretion and the determination thereof will not impact the validity or fulfillment of the
28


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1    Settlement Agreement. (Id.) Defendant has also agreed to pay service awards not to
2    exceed $5,000 to each class representative. (Id. §§ V(C), V(E).)
3
           The Settlement also proposes that JND Legal Administration act as Settlement
4
     Administrator and offers a provisional plan for Class Notice. (Id. § I(W).) Upon
5
     approval of the Court, JND will distribute notice to the class (i) via print, Internet and
6
     social media notice; and (ii) via an established Settlement Website. (Id. § VII(A).) The
7
     Settlement Administrator will also establish a toll-free number to provide information to
8
     the Settlement Class, including on how to submit Claim forms. (Id.)
9

10         Class Members shall have access to the Claim Form via the Settlement’s website.
11   (Settlement Agreement, Ex. B [Claim Form].) Claim Forms may be submitted via mail
12   or electronically on the website. Each claim will require the Class Member provide their
13   name and address, email address, and warrant that the claimed purchases were direct
14   retail purchases by the claimant, that the claimed purchases were not made for resale
15   purposes, the product names, the approximate date of purchase, the approximate price,
16   and the name of the retail store and the store location of each purchase.
17
           Settlement Class members who do not wish to participate in the Settlement may
18
     opt-out of the Settlement by sending a written request to the Settlement Administrator.
19
     The notice will also provide information on how to object to the final approval of the
20
     class action settlement.
21

22         In exchange for the Settlement consideration, Plaintiffs and each Settlement Class
23   Member, and each of their heirs, spouses, guardians, executors, administrators,
24   representatives, agents, attorneys, insurers, partners, successors, predecessors-in-interest,
25   and assigns, shall be deemed to have, and by operation of the Final Judgment shall have,
26   fully, finally, and forever released, relinquished, and discharged all Class Released
27   Claims against Pets Global as defined in the Settlement Agreement. (Settlement
28   Agreement VI(A).) The released claims are those that (1) were asserted or could have

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1    been asserted in this Action, and those that (2) arise out of or are related in any way to
2    any or all of the acts, omissions, facts, matters, transactions, occurrences, or events that
3    were or could have been directly or indirectly alleged or referred to in the Action. (Id.,
4    Ex. A.)
5

6
     III.   DISCUSSION
7

8
               A. Class Certification Requirements
9

10
            When a plaintiff seeks provisional class certification for purposes of settlement, the
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     Court must ensure that the four requirements of Federal Rule of Civil Procedure 23(a)
12
     and at least one of the requirements of Rule 23(b) are met. Amchem Prods., Inc. v.
13
     Windsor, 521 U.S. 591, 620 (1997); Staton v. Boeing Co., 327 F.3d 938, 952–53 (9th Cir.
14
     2003). Under Rule 23(a), the plaintiff must show the class is sufficiently numerous, that
15
     there are questions of law or fact common to the class, that the claims or defenses of the
16
     representative parties are typical of those of the class, and that the representative parties
17
     will fairly and adequately protect the class’s interests. Under Rule 23(b), the plaintiff
18
     must show that the action falls within one of the three authorized “types” of classes.
19
     Here, Plaintiffs seek certification pursuant to Rule 23(b)(3). Rule 23(b)(3) allows
20
     certification where (1) questions of law or fact common to the members of the class
21
     predominate over any questions affecting only individual members, and (2) a class action
22
     is superior to other available methods for the fair and efficient adjudication of the
23
     controversy.
24

25
            As explained in the Court’s prior Order, Plaintiffs’ have already satisfied Rule
26
     23(a)’s requirements of typicality, commonality, and adequacy, in addition to the
27
     requirements of Rule 23(b)(3). The Court adopts and incorporates that analysis into this
28


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1    Order and also finds that Plaintiffs have now satisfied Rule 23(a)’s numerosity
2    requirement.
3

4          Rule 23(a)(1) requires that “the class is so numerous that joinder of all members is
5    impracticable.” “No exact numerical cut-off is required; rather, the specific facts of each
6    case must be considered.” In re Cooper Cos. Inc. Sec. Litig., 254 F.R.D. 628, 634 (C.D.
7    Cal. 2009) (citing Gen. Tel. Co. of Nw., Inc. v. E.E.O.C., 446 U.S. 318, 330 (1980)). “As
8    a general matter, courts have found that numerosity is satisfied when class size exceeds
9    40 members.” Moore v. Ulta Salon, Cosmetics & Fragrance, Inc., 311 F.R.D. 590, 602–
10   03 (C.D. Cal. 2015); see Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 473–74
11   (C.D. Cal. 2012). Plaintiffs now provides estimates that the class size would be
12   approximately 824,393 people. (Byrson Decl. ¶ 20.) Plaintiffs arrived at that figure by
13   reviewing sales data for the pet food products at issue over the proposed class period,
14   which totaled 9,892,719 bags. Plaintiffs then assumed that each Class Member
15   purchased one bag of dog food a month, arriving at the 824,393 figure. (Id.) Though the
16   precise class size is not known at this time, such a class size would make joinder
17   impracticable and proceeding as a class would promote the efficiency and economy of
18   this action. Accordingly, the Court finds that Plaintiffs have satisfied Rule 23(a)’s
19   numerosity requirement, along with the other requirements of 23(a) and 23(b)(3), and
20   certifies the class for settlement purposes.
21

22             B. Class Settlement Agreement Requirements
23

24         Approval of class action settlements is governed by Federal Rule of Civil
25   Procedure 23(e). A district court may approve class action settlements only when they
26   are “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). The Rule requires courts
27   to consider whether “(A) the class representatives and class counsel have adequately
28   represented the class[,] (B) the proposal was negotiated at arm’s length[,] (C) the relief

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1    provided for the class is adequate[,] and (D) the proposal treats class members equitably
2    relative to each other.” Id. 23(e)(2)(A–D). In determining whether the class’s relief is
3    “adequate,” courts must analyze “(i) the costs, risks, and delay of trial and appeal; (ii) the
4    effectiveness of any proposed method of distributing relief to the class, including the
5    method of processing class-member claims; (iii) the terms of any proposed award of
6    attorney’s fees, including timing of payment; and (iv) any agreement required to be
7    identified under Rule 23(e)(3).” Id. 23(e)(2)(C).
8

9           “[W]hether a proposed settlement comports with Rule 23(e)(2) is [also] guided by
10   the ‘Churchill factors,’”—which encompass some of the factors enumerated in Rule
11   23(e)—“viz., ‘(1) the strength of the plaintiff’s case; (2) the risk, expense, complexity,
12   and likely duration of further litigation; (3) the risk of maintaining class action status
13   throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery
14   completed and the stage of proceedings; (6) the experience and views of counsel; (7) the
15   presence of a governmental participant; and (8) the reaction of the class members of the
16   proposed settlement.’” 3 Kim v. Allison, 8 F.4th 1170, 1178 (9th Cir. 2021) (quoting In re
17   Bluetooth Headset Prods. Liab., 654 F.3d 935, 946 (9th Cir. 2011)); see also Churchill
18   Vill. v. Gen. Elec., 361 F.3d 566 (9th Cir. 2004). “Only when the district court
19   ‘explore[s] these factors comprehensively’ can the settlement award ‘survive appellate
20   review.’” Id. (quoting In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir.
21   2000)); see also Fed. R. Civ. P. 23(e)(2) Adv. Cmt. Note to 2018 Amendment (the factors
22   identified in 23(e)(2) do not “displace” existing factors, but instead “focus the court and
23   the lawyers on the core concerns of procedure and substance”).
24

25

26

27
     3
      The Churchill factors are also known as the Hanlon factors and the Staton factors. See Hanlon v.
28   Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998); Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir.
     2003).
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1          When, as in this case, “a settlement agreement is negotiated prior to formal class
2    certification,” the settlement “must withstand an even higher level of scrutiny for
3    evidence of collusion or other conflicts of interest than is ordinarily required under Rule
4    23(e) before securing the court’s approval as fair.” In re Bluetooth Headset Prod. Liab.
5    Litig., 654 F.3d at 946. Courts must be wary of “subtle signs” of collusion such as
6    “(1) when counsel receive a disproportionate distribution of the settlement; (2) when the
7    parties negotiate a ‘clear sailing’ arrangement (i.e., an arrangement where defendant will
8    not object to a certain fee request by class counsel); and (3) when the parties create a
9    reverter that returns unclaimed [funds] to the defendant.” Roes, 1-2 v. SFBSC Mgmt.,
10   LLC, 944 F.3d 1035, 1049 (9th Cir. 2019).
11

12
                     1. The Proposed Settlement Offers Class Members Meaningful
                        Benefits
13

14
           Plaintiffs have shown that Class Members will receive meaningful benefits under
15
     the Settlement Agreement. The total monetary benefit for the class is uncapped, meaning
16
     that the pool of resources to fund the claims is unlimited. Those with valid claims and
17
     proof of purchase may be eligible to receive up to $100 for purchased products at ($10
18
     per claim for a maximum of 10 claims), while those without proof of purchase will be
19
     eligible to receive a total of $5. Though there is a significant difference between a $100
20
     maximum benefit and a $5 maximum benefit, Plaintiffs provide evidence that a claims
21
     rate estimate of 10% would make the total monetary benefit $515,332 for proof of
22
     purchase claimants and $231,900 for non-proof of purchase claimants for a total of
23
     $747,232 Though it is difficult to ascertain how many of each type of claim will
24
     ultimately be filed and the total compensation each class member will receive, even each
25
     class member who files a claim receives only $5, they would receive compensation that is
26
     commensurate with the calculated price premium Plaintiffs paid for the Zignature
27
     Limited Ingredient products and the allegedly false representations made about the food
28
     products.
                                                  -10-
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2          Indeed, Plaintiffs’ expert calculated that the price premium on a per bag basis
3    ranges between $1.92 to $11.40, depending on the size of the bag purchased.
4    (Bernatowicz Decl. ¶ 17.) Accordingly, a Class Member without proof of purchase
5    would, at worst, receive 43% of his or her damages and at best would receive 260% of its
6    damages depending again upon the size of the bag purchased. Though the settlement
7    offer may not make some class members whole, the $5 compensation offered is a
8    reasonable compromise for a class that encompasses members who purchased the same
9    product in different size bags. And cases have received final approval when the
10   compensation offered class members less than 43% of their damages. See, e.g., In re
11   Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1042 (N.D. Cal. 2008) (approving
12   settlement that constituted 6% of maximum potential damages); In re Toys R Us-
13   Delaware, Inc.--Fair & Accurate Credit Transactions Act (FACTA) Litig., 295 F.R.D.
14   438, 454 (C.D. Cal. 2014) (noting that award representing between 5% and 30% of
15   recovery “is not a de minimis amount” and “weighs in favor of approval”); Downey
16   Surgical Clinic, Inc. v. Optuminsight, Inc., 2016 WL 5938722 at *5 (C.D. Cal. May 16,
17   2016) (granting final approval where recovery was as low as 3.21% of potential recovery
18   at trial); Stovall-Gusman v. W.W. Granger, Inc., 2015 WL 3776765, at *4 (N.D. Cal. June
19   17, 2015) (granting final approval of a net settlement amount representing 7.3% of the
20   plaintiffs’ potential recovery at trial); Shvager v. ViaSat, Inc., 2014 WL 12585790, at *10
21   (C.D. Cal. Mar. 10, 2014) (approving settlement representing “2.8% of the recovery that
22   might have been obtained had the case continued”).
23

24         The proposed Settlement also confers substantial benefits upon the Class when
25   weighed against the risk associated with the inherent uncertain nature of litigation, the
26   complex nature of the action, the difficulty and complexity of calculating actual
27   economic harm attributable to allegedly false and misleading representations related to
28   Pets Global’s pet food products, and the length and expense of continued proceedings

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1    through additional fact discovery, depositions, expert depositions, third party document
2    productions and depositions, class certification briefing, summary judgment briefing, a
3    jury trial, and appeals.
4

5          Moreover, “the uncapped nature of the proposed settlement . . . indicate[s] that
6    class counsel and the named plaintiffs have attempted to serve the best interests of the
7    class as a whole.” Turner v. NFL (In re NFL Players’ Concussion Injury Litig.), 307
8    F.R.D. 351, 373 (E.D. Pa. 2015) (citing Krell v. Prudential Ins. Co. of Am. (in Re
9    Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions), 148 F.3d 283, 317 (3d Cir.
10   1998)). Simply put, “the Settlement accounts for uncertainty about the precise size of the
11   Class by providing an uncapped guarantee” of settlement benefits. Jabbari v. Wells
12   Fargo & Co., 2018 U.S. Dist. LEXIS 239959, at *17 (N.D. Cal. June 14, 2018)
13   (emphasis added).
14

15         Additionally, the settlement benefits offer more than just a cash component but
16   injunctive relief and supplier auditing as well. The injunctive relief is significant in this
17   case, removing the chicken free and grain free representations at issue across all of Pets
18   Global’s products and is estimated to be valued in the hundreds of millions. (Bryson
19   Decl. ¶ 13.) Pets Global also agreed to audit all of the manufacturing plants of suppliers
20   for a period of 5 years following the Court’s Final Approval Order. (Id. at ¶ 14.) The
21   audits of Pets Global’s suppliers will happen at least once a year and includes: (1) the
22   visual inspection of all manufacturing machines that process, store, or otherwise come
23   into contact with the petfood manufactured within said facility and purchased by Pets
24   Global; (2) an audit of the manufacturer’s manufacturing process and sourcing records, to
25   confirm the accuracy of the ingredients being used in Pets Global’s products, and (3)
26   ensuring that all of the manufacturing processes used by the manufacturing plant adhere
27   to quality control standards. (Id.)
28


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1
                      2. The Risks of Ongoing Litigation and Maintaining Class Status
                         Also Supports Preliminary Approval
2

3
            Proceeding in this litigation in the absence of settlement also poses various risks
4
     such as failing to certify a class, having summary judgment granted against Plaintiffs, or
5
     losing at trial. Such considerations weigh heavily in favor of settlement. See Rodriguez,
6
     563 F.3d at 966; Curtis-Bauer v. Morgan Stanley & Co., Inc., 2008 WL 4667090, at *4
7
     (N.D. Cal. Oct. 22, 2008) (“Settlement avoids the complexity, delay, risk and expense of
8
     continuing with the litigation and will produce a prompt, certain, and substantial recovery
9
     for the Plaintiff class.”). Even if Plaintiffs are able to certify a class, there is also a risk
10
     that the Court could later decertify the class action. See In re Netflix Privacy Litig., 2013
11
     WL 1120801, at *6 (N.D. Cal. Mar. 18, 2013) (“The notion that a district court could
12
     decertify a class at any time is one that weighs in favor of settlement.”) (internal citations
13
     omitted). The Settlement eliminates these risks by ensuring Class Members a recovery
14
     that is “certain and immediate, eliminating the risk that class members would be left
15
     without any recover . . . at all.” Fulford v. Logitech, Inc., 2010 U.S. Dist. LEXIS 29042,
16
     at *8 (N.D. Cal. Mar. 5, 2010).
17

18
            Additionally, Plaintiffs acknowledge that proving their claims at summary
19
     judgment or trial would be arduous. For instance, Plaintiffs would have to prove Pets
20
     Global was responsible for making false and/or misleading representations and that the
21
     non-conforming ingredients in its products would be material to reasonable consumers.
22
     This would undoubtedly involve retaining expensive experts to both prove its own
23
     assertions and rebut any expert testimony opposing counsel presents. Plaintiffs would
24
     also be tasked with proving that every member purchased products that contained grain
25
     or chicken contaminants, which again would involve extensive and expensive expert
26
     testimony. The Settlement Agreement thus offers the class an opportunity to obtain relief
27
     at an early stage in the litigation, minimizing the risks posed by proceeding further in the
28
     action.
                                                    -13-
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1
                     3. The Proposed Settlement is the Result of Arms-Length
                        Negotiations
2

3
           The Settlement is also the result of arms-length negotiations between the parties
4
     weighing in favor of approval. After Plaintiffs filed their FAC, the parties participated in
5
     an all-day mediation session with the Honorable Wayne Anderson (Ret.) of JAMS
6
     Chicago. (Bryson Decl. ¶ 6.) The case did not settle. However, conversations between
7
     the parties continued, and Judge Anderson ultimately made a mediator’s proposal that
8
     both parties accepted. (Id.) The parties did not discuss attorneys’ fees, costs, or service
9
     awards until after they agreed on the material terms and structure of the settlement. (Id.)
10
     Negotiations continued for an additional six weeks before the proposed settlement was
11
     finalized on October 21, 2021. (Id. ¶¶ 7, 8.) These negotiations resulted in the proposed
12
     settlement before the Court and the Court can discern no “subtle signs” of collusion
13
     between the parties, such as “(1) when counsel receive a disproportionate distribution of
14
     the settlement; (2) when the parties negotiate a ‘clear sailing’ arrangement (i.e., an
15
     arrangement where defendant will not object to a certain fee request by class counsel);
16
     and (3) when the parties create a reverter that returns unclaimed [funds] to the
17
     defendant.” Roes, 1-2 v. SFBSC Mgmt., LLC, 944 F.3d 1035, 1049 (9th Cir. 2019).
18

19                   4. The Extent of Discovery Thus Far and the Status of Proceedings
20
                        Also Supports Preliminary Approval

21
           Courts also evaluate whether class counsel has sufficient information to make an
22
     informed decision about the merits of the case when analyzing motions for preliminary
23
     approval. See In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000).
24
     Here, Class Counsel has conducted significant pre-litigation research, including the
25
     retention of an expert to analyze the ingredients of multiple Zignature Limited Ingredient
26
     Diets. (Bryson Decl. ¶ 4.) Plaintiffs also gathered scholarly research on the pervasive
27
     problem of pet food mislabeling especially where manufacturers claim to be using
28


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1    specific, limited ingredients or claim to have eliminated certain ingredients from their
2    Products. (Id.) Plaintiffs also consulted with an economist regarding the calculation of
3    damages related to misrepresentations about product ingredients and for paying a price
4    premium for the inclusion or exclusion of certain key ingredients. (Id.) This pre-
5    litigation research helps ensure that plaintiffs have a firm grasp of the complexity of
6    proving wide-spread liability in this action as well as proving price premium damages in
7    this case. Additionally, through their mediation efforts and negotiations, the parties
8    shared certain confirmatory discovery including sales figures and product testing results.
9    Dunleavy v. Nadler (In re Mego Fin. Corp. Sec. Litig.), 213 F.3d 454, 459 (9th Cir.
10   2000). All of which ensures Plaintiffs understand the benefits the settlement agreement
11   proposed confers.
12

13
                       5. The Experience and Views of Counsel Supports Preliminary
                          Approval
14

15
           Class counsel in this case also has significant experience in consumer class action
16
     litigation, including in litigation related to mislabeling and pet foods. (See Bryson Decl.
17
     ¶¶ 15, 16 & Ex. 2 [Firm Resume of proposed Class Counsel].) Based on their collective
18
     experience, Class Counsel concluded that the Settlement provides exceptional results for
19
     the class while sparing the class from the uncertainties of continued and protracted
20
     litigation. Thus, this factor also weighs in favor of approval.
21

22
                  6.     The Expected Claims Rate Supports Preliminary Approval
23

24
           The expected claims rate in this action is also commensurate with other class
25
     actions of similar caliber to the one presented here which received final approval.
26
     Plaintiffs’ Counsel has been involved in two other pet food settlements involving non-
27
     conforming ingredients. In Shaw et al v. Costco Wholesale Corporation et al, at the
28
     conclusion of the claims period the claims the settlement received 22,520 without proof
                                                  -15-
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1    of purchase claims ($5 per claim) and 1,562 claims with proof of purchase (up to $100)
2    for a total of 24,082 claims. (Bryson Dec ¶ 18.) The total amount claimed by class
3    members was $221,370. (Id.) In Sarah Hill et al v. Canidae Corporation, 5:20-cv-
4    01374-JGB-SP, (C.D. Cal.) there were 48,080 claims made. (Id. ¶ 19). Of these 48,080
5    claims, 2,000 were filed with a proof of purchase ($5 for every $50 spent up to $125) and
6    46,080 were filed without proof of purchase ($5). (Id.) The maximum payout the
7    claimants would receive was $480,400. (Id.) There were ultimately 37,096 valid claims
8    and the defendant paid $189,660 to class members. (Id.)
9

10         Class Counsel expects a similar claims rate in this case. (Id. ¶ 20.) Defendant sold
11   9,892,719 bags of pet food over the proposed class period. Assuming a Class Member
12   purchased one bag of dog food a month, that would make the class size approximately
13   824,393 people. (Bryson Decl. ¶ 20.) Claims rates often range from 1% to 10%,
14   trending towards the lower end. In re Myford Touch Consumer Litig., 2018 WL
15   10539266, at *2 (N.D. Cal. June 14, 2018); see 4 Newberg § 12:17 (recognizing that
16   claims rates are often very low when relief is small and process burdensome); Allen v.
17   Bedolla, 787 F.3d 1218, 1221 (9th Cir. 2015) (approximately 7% claims rate); Tait, 2015
18   WL 4537463 at *6 (less than 3% claims rate); Yeagley v. Wells Fargo & Co., 2008 WL
19   171083, at *2 (N.D. Cal. Jan. 18, 2008) (less than 1% claims rate); LaGorden v.
20   Support.com, Inc., 2013 WL 1283325, at *6 (N.D. Cal. Mar. 26, 2013) (0.17% claims
21   rate). Based on calculations from Defendant’s actual sales data, a 1% claims rate for this
22   case would be approximately 8,243 claims while a 10% claims rate would be
23   approximately 82,439 claims. (Bryson Dec ¶ 20.) Though it is difficult to determine
24   what the actual claims rate will be, the Court is satisfied at this stage of the litigation that
25   enough class members will file claims to seeking relief such that preliminary approval is
26   appropriate.
27

28


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1                     7. The Attorneys’ Fees Sought is Reasonable
2

3          Class counsel also seeks a total amount of fees that shall not exceed $875,000, with
4    the final amount to be determined and awarded by the Court. This figure is reasonable in
5    light of the significant monetary value of the injunctive relief the settlement agreement
6    provides, the auditing program that will ensure Pets Global’s compliance with the terms
7    of the Settlement Agreement, and the cash settlement conferred to individual claimants.
8    Though the Court will evaluate closely the ultimate award Plaintiffs’ counsel requests to
9    ensure that it is commensurate with the Ninth Circuit’s lode star method of calculating
10   fees, at this stage of the litigation, the amount does not upset the fairness or adequacy of
11   the proposed class settlement.
12

13                    8. The Proposed Notice Program Also Weighs in Favor of Approval
14

15         For class actions certified under Rule 23(b)(3), “the court must direct to class
16   members the best notice that is practicable under the circumstances, including individual
17   notice to all members who can be identified through reasonable effort.” Fed. R. Civ. P.
18   23(c)(2)(B). Rule 23(e)(1) also requires the Court to “direct notice in a reasonable
19   manner to all class members who would be bound by the proposal.” When a court is
20   presented with class notice pursuant to a settlement, both the class certification notice and
21   notice of settlement may be combined in the same notice.
22

23         The proposed notice plan here is designed to reach at least 70% of the class at least
24   two times. The Notices proposed in this matter inform Class Members of the salient
25   terms of the Settlement, the Class to be certified, the final approval hearing and the rights
26   of all parties, including the rights to file objections or to opt-out of the Settlement Class.
27   The proposed Long Form Notice will provide directions on the requirements and
28   deadlines to submit claims, to request exclusion, or to object to the Settlement. The

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